
717 S.E.2d 736 (2011)
STATE of North Carolina
v.
Gregory Lynn GORDON.
No. 132P11-5.
Supreme Court of North Carolina.
September 30, 2011.
Gregory Lynn Gordon, Vanceboro, for Gordon, Gregory Lynn.
Robert C. Montgomery, Senior Deputy Attorney General, for State of North Carolina.
John Snyder, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the application filed by Defendant on the 20th of September 2011 in this matter for Writ of Habeas Corpus, the following order was entered and is hereby certified to the Superior Court, Union County:
"Denied by order of the Court in conference, this the 30th of September 2011."
